Case 2:19-cv-00291-JRG-RSP Document 199-1 Filed 01/08/21 Page 1 of 4 PageID #: 6323




                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      MARSHALL DIVISION
   ULTRAVISION TECHNOLOGIES, LLC,                    )   Case No. 2:19-cv-00291-JRG-RSP
                                                     )   (LEAD CASE)
                             Plaintiff,              )
                                                     )   JURY TRIAL DEMANDED
             v.                                      )
                                                     )
   HOLOPHANE EUROPE LIMITED,                         )
   ACUITY BRANDS LIGHTING DE                         )
   MEXICO S DE RL DE CV, HOLOPHANE                   )
   S.A. DE CV and ARIZONA (TIANJIN)                  )
   ELECTRONICS PRODUCT TRADE CO.,                    )
   LTD.,                                             )
                                                     )   Case No 2:19-cv-00398-JRG-RSP
   YAHAM OPTOELECTRONICS CO., LTD.,                  )   (CONSOLIDATED CASE)
                             Defendants.             )   JURY TRIAL DEMANDED
                                                     )

                           SECOND AMENDED DOCKET CONTROL ORDER

            It is hereby ORDERED that the following schedule of deadlines is in effect as to

   Defendants Holophane Europe Limited, Acuity Brands Lighting de Mexico S de RL de CV,

   Holophane S.A. de CV, Arizona (Tianjin) Electronics Product Trade Co., Ltd., and Yaham

   Optoelectronics Co., Ltd. (“Defendants”) until further order of this Court:

       Original Date        Amended Date           Event
       March 1, 2021                               *Jury Selection – 9:00 a.m. in Marshall, Texas

       February 1, 20211                           *Pretrial Conference – 9:00 a.m. in Marshall,
                                                   Texas before Judge Roy S. Payne

       January 20, 2021                            *Notify Deputy Clerk in Charge regarding the
                                                   date and time by which juror questionnaires shall
                                                   be presented to accompany by jury summons if
                                                   the Parties desire to avail themselves the benefit
                                                   of using juror questionnaires.2


   1
       This date was adjusted in accordance with the January 5, 2021 Notice of Hearing.
   2
       The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires
Case 2:19-cv-00291-JRG-RSP Document 199-1 Filed 01/08/21 Page 2 of 4 PageID #: 6324




    Original Date         Amended Date            Event
    January 20, 2021                              *Notify Court of Agreements Reached During
                                                  Meet and Confer
                                                  The parties are ordered to meet and confer on
                                                  any outstanding objections or motions in limine.
                                                  The parties shall advise the Court of any
                                                  agreements reached no later than 1:00 p.m. three
                                                  (3) business days before the pretrial conference.

    January 19, 2021                              *File Joint Pretrial Order, Joint Proposed Jury
                                                  Instructions, Joint Proposed Verdict Form,
                                                  Responses to Motions in Limine, Updated
                                                  Exhibit Lists, Updated Witness Lists, and
                                                  Updated Deposition Designations.

    January 15, 2021                              Serve Objections to Rebuttal Pretrial
                                                  Disclosures.

    January 11, 2021                              *File Notice of Request for Daily Transcript or
                                                  Real Time Reporting.
                                                  If a daily transcript or real time reporting of
                                                  court proceedings is requested for trial, the party
                                                  or parties making said request shall file a notice
                                                  with the Court and e-mail the Court Reporter,
                                                  Shelly Holmes, at
                                                  shelly_holmes@txed.uscourts.gov.

    January 8, 2021       January 11, 2021        File Motions in Limine
                                                  The parties shall limit their motions in limine to
                                                  issues that if improperly introduced at trial
                                                  would be so prejudicial that the Court could not
                                                  alleviate the prejudice by giving appropriate
                                                  instructions to the jury.


   (*) indicates a deadline that cannot be changed without showing good cause. Good cause is
   not shown merely by indicating that the parties agree that the deadline should be changed.

   I.      ADDITIONAL REQUIREMENTS

           Mediation: While certain cases may benefit from mediation, such may not be appropriate
   for every case. The Court finds that the Parties are best suited to evaluate whether mediation will
   benefit the case after the issuance of the Court’s claim construction order. Accordingly, the Court

   in Advance of Voir Dire.


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Case 2:19-cv-00291-JRG-RSP Document 199-1 Filed 01/08/21 Page 3 of 4 PageID #: 6325




   ORDERS the Parties to file a Joint Notice indicating whether the case should be referred for
   mediation within fourteen days of the issuance of the Court’s claim construction order. As a
   part of such Joint Notice, the Parties should indicate whether they have a mutually agreeable
   mediator for the Court to consider. If the Parties disagree about whether mediation is appropriate,
   the Parties should set forth a brief statement of their competing positions in the Joint Notice.

           Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
   Motions: For each motion, the moving party shall provide the Court with two (2) copies of the
   completed briefing (opening motion, response, reply, and if applicable, sur-reply), excluding
   exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
   must include the CM/ECF header. These copies shall be delivered to the Court within three (3)
   business days after briefing has completed. For expert-related motions, complete digital copies of
   the relevant expert report(s) and accompanying exhibits shall be submitted on a single flash drive
   to the Court. Complete digital copies of the expert report(s) shall be delivered to the Court no
   later than the dispositive motion deadline.

           Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
   include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
   the local rules’ normal page limits.

           Motions for Continuance: The following excuses will not warrant a continuance nor
   justify a failure to comply with the discovery deadline:

   (a)    The fact that there are motions for summary judgment or motions to dismiss pending;

   (b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
          unless the other setting was made prior to the date of this order or was made as a special
          provision for the parties in the other case;

   (c)    The failure to complete discovery prior to trial, unless the parties can demonstrate that it
          was impossible to complete discovery despite their good faith effort to do so.

           Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
   the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
   include a proposed order that lists all of the remaining dates in one column (as above) and the
   proposed changes to each date in an additional adjacent column (if there is no change for a date
   the proposed date column should remain blank or indicate that it is unchanged). In other words,
   the DCO in the proposed order should be complete such that one can clearly see all the
   remaining deadlines and the changes, if any, to those deadlines, rather than needing to also refer
   to an earlier version of the DCO.

          Proposed DCO: The Parties’ Proposed DCO should also follow the format described
   above under “Amendments to the Docket Control Order (‘DCO’).”

           Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial
   Order, the Plaintiff shall specify all allegedly infringed claims that will be asserted at trial. The



                                                      3
Case 2:19-cv-00291-JRG-RSP Document 199-1 Filed 01/08/21 Page 4 of 4 PageID #: 6326




   Plaintiff shall also specify the nature of each theory of infringement, including under which
   subsections of 35 U.S.C. § 271 it alleges infringement, and whether the Plaintiff alleges divided
   infringement or infringement under the doctrine of equivalents. Each Defendant shall indicate
   the nature of each theory of invalidity, including invalidity for anticipation, obviousness, subject
   matter eligibility, written description, enablement, or any other basis for invalidity. The
   Defendant shall also specify each prior art reference or combination of references upon which
   the Defendant shall rely at trial, with respect to each theory of invalidity. The contentions of the
   Parties may not be amended, supplemented, or dropped without leave of the Court based upon a
   showing of good cause.




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